                     Case 22-11068-JTD           Doc 24       Filed 11/17/22         Page 1 of 30




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                           Chapter 11

FTX TRADING LTD., et al.,1                                       Case No. 22-11068 (JTD)

         Debtors.                                                (Joint Administration Pending)




                       DECLARATION OF JOHN J. RAY III IN SUPPORT OF
                      CHAPTER 11 PETITIONS AND FIRST DAY PLEADINGS

                     I, John J. Ray III, hereby declare under penalty of perjury as follows:

                     1.     I am the Chief Executive Officer of the above-captioned debtors and

debtors-in-possession (collectively, the “Debtors”), having accepted this position in the early

morning hours of November 11, 2022. I am administering the interests and affairs of the Debtors

from my offices in the United States.

                     2.     My first official act in these roles was to authorize the chapter 11 filings of

the Debtors and the commencement of the above-captioned chapter 11 cases (the “Chapter 11

Cases”).

                     3.     Since my appointment, I have worked around the clock with teams of

professionals at Alvarez & Marsal, Sullivan & Cromwell, Nardello & Co., Chainalysis, Kroll and

a confidential cybersecurity firm, to secure the assets of the Debtors wherever located, to identify

reliable books and records, to assemble the information necessary to provide to this Court, and to

respond to numerous inquiries from multiple regulators and government authorities including the



1
    The last four digits of FTX Trading Ltd.’s tax identification number are 3288. Due to the large number of
    debtor entities in these Chapter 11 Cases, a complete list of the Debtors and the last four digits of their federal
    tax identification numbers is not provided herein. A complete list of such information may be obtained on the
    website of the Debtors’ proposed claims and noticing agent at https://cases.ra.kroll.com/FTX.



4892-0827-0654 v.2
                     Case 22-11068-JTD      Doc 24       Filed 11/17/22   Page 2 of 30




U.S. Commodity Futures Trading Commission (“CFTC”), the U.S. Attorney’s Office for the

Southern District of New York, the U.S. Securities and Exchange Commission (“SEC”), and the

U.S. Congress, among others.

                     4.    I have over 40 years of legal and restructuring experience. I have been the

Chief Restructuring Officer or Chief Executive Officer in several of the largest corporate failures

in history. I have supervised situations involving allegations of criminal activity and

malfeasance (Enron). I have supervised situations involving novel financial structures (Enron

and Residential Capital) and cross-border asset recovery and maximization (Nortel and Overseas

Shipholding). Nearly every situation in which I have been involved has been characterized by

defects of some sort in internal controls, regulatory compliance, human resources and systems

integrity.

                     5.    Never in my career have I seen such a complete failure of corporate

controls and such a complete absence of trustworthy financial information as occurred here.

From compromised systems integrity and faulty regulatory oversight abroad, to the concentration

of control in the hands of a very small group of inexperienced, unsophisticated and potentially

compromised individuals, this situation is unprecedented.

                     6.    These Chapter 11 Cases have five core objectives:

                     (a)   Implementation of Controls: the implementation of accounting, audit,
                           cash management, cybersecurity, human resources, risk management, data
                           protection and other systems that did not exist, or did not exist to an
                           appropriate degree, prior to my appointment;

                     (b)   Asset Protection & Recovery: the location and security of property of
                           the estate, a substantial portion of which may be missing or stolen;

                     (c)   Transparency and Investigation: the pending, comprehensive,
                           transparent and deliberate investigation into claims against Mr. Samuel
                           Bankman-Fried, the other co-founders of the Debtors and third parties, in


                                                   -2-

4892-0827-0654 v.2
                     Case 22-11068-JTD       Doc 24     Filed 11/17/22     Page 3 of 30




                           coordination with regulatory stakeholders in the United States and around
                           the world;

                     (d)   Efficiency and Coordination: cooperation and coordination with
                           insolvency proceedings of subsidiary companies in other jurisdictions; and

                     (e)   Maximization of Value: the maximization of value for all stakeholders
                           through the eventual reorganization or sale of the Debtors’ complex array
                           of businesses, investments and digital and physical property.

These proceedings in the District of Delaware are the appropriate means to accomplish each of

these objectives.

                     7.    Except as otherwise indicated herein, all facts set forth in this declaration

(the “Declaration”) are based on my personal knowledge, my review of relevant materials in the

Debtors’ files or my opinion based on my experience, knowledge and information concerning the

Debtors’ operations and financial affairs. I am over the age of 18 and authorized to submit this

Declaration on behalf of each of the Debtors.

                     8.    For the reasons explained below, the Debtors expect to provide

supplemental declarations as to the subject matter of this Declaration in connection with future

motions as more information becomes available to the Debtors, stakeholders and the Court.

                               I.      THE PREPETITION DEBTORS

                     A.    Corporate Organization and Identification of Four Silos

                     9.    For purposes of managing the Debtors’ affairs, I have identified four

groups of businesses, which I refer to as “Silos.” These Silos include: (a) a group composed of

Debtor West Realm Shires Inc. and its Debtor and non-Debtor subsidiaries (the “WRS Silo”),

which includes the businesses known as “FTX US,” “LedgerX,” “FTX US Derivatives,” “FTX

US Capital Markets,” and “Embed Clearing,” among other businesses; (b) a group composed of

Debtor Alameda Research LLC and its Debtor subsidiaries (the “Alameda Silo”); (c) a group

composed of Debtor Clifton Bay Investments LLC, Debtor Clifton Bay Investments Ltd., Debtor
                                            -3-

4892-0827-0654 v.2
                     Case 22-11068-JTD        Doc 24         Filed 11/17/22      Page 4 of 30




Island Bay Ventures Inc. and Debtor FTX Ventures Ltd. (the “Ventures Silo”); and (d) a group

composed of Debtor FTX Trading Ltd. and its Debtor and non-Debtor subsidiaries (the “Dotcom

Silo”), including the exchanges doing business as “FTX.com” and similar exchanges in non-U.S.

jurisdictions. These Silos together are referred to by me as the “FTX Group.”

                     10.   Each of the Silos was controlled by Mr. Bankman-Fried.2 Minority equity

interests in the Silos were held by Zixiao “Gary” Wang and Nishad Singh, the co-founders of the

business along with Mr. Bankman-Fried. The WRS Silo and Dotcom Silo also have third party

equity investors, including investment funds, endowments, sovereign wealth funds and families.

To my knowledge, no single investor other than the co-founders owns more than 2% of the

equity of any Silo.3

                     11.   The diagram attached as Exhibit A provides a visual summary of the Silos

and the indicative assets in each Silo. Exhibit B contains a preliminary corporate structure chart.

These materials were prepared at my direction based on information available at this time and

are subject to revision as our investigation into the affairs of the FTX Group continues.

                                            B.      The WRS Silo

                     12.   The WRS Silo includes FTX US, an exchange for spot trading in digital

assets and tokens. FTX US was founded in January 2020. FTX US is available to U.S. users




2
    To my knowledge, Mr. Bankman-Fried owns (a) directly, approximately 53% of the equity in Debtor West
    Realm Shires Inc.; (b) indirectly, approximately 75% of the equity in Debtor FTX Trading Ltd.; (c) directly,
    approximately 90% of the equity in Debtor Alameda Research LLC; and (d) directly, approximately 67% of the
    equity in Clifton Bay Investments LLC.
3
    Based on the information provided to me, the only Debtors that have received third party equity investments are
    Debtor FTX Trading Ltd. (Dotcom Silo) and Debtor West Realm Shires Inc. (WRS Silo). To my knowledge,
    (a) approximately 25% of the equity in Debtor FTX Trading Ltd. is owned by a dispersed group of
    approximately 600 third party equity investors and (b) approximately 22.25% of the equity in Debtor West
    Realm Shires Inc. is owned by a dispersed group of approximately 570 third party equity investors. FTX
    Trading Ltd also acquired 51% of Blockfolio, Inc. in 2020, with the remaining 49% of Blockfolio, Inc. owned
    by the original shareholders.
                                                       -4-

4892-0827-0654 v.2
                     Case 22-11068-JTD     Doc 24       Filed 11/17/22   Page 5 of 30




and, according to statements by Mr. Bankman-Fried, had approximately one million users as of

August 2022. FTX US’s spot exchange is registered with the Department of the Treasury (via

the Financial Crimes Enforcement Network) as a money services business and holds a series of

state money transmission licenses in the United States.

                     13.   The WRS Silo also owns 100% of the equity interests in the LedgerX

business, which is operated by non-Debtor LedgerX LLC (d/b/a FTX US Derivatives)

(“LedgerX”). LedgerX offers futures, options, and swaps contracts on digital assets and other

commodities to both U.S. and non-U.S. persons. LedgerX operates with licenses from the

CFTC. Based on the information that I have reviewed at this time, LedgerX is solvent.

                     14.   The WRS Silo also owns 100% of the equity interests in non-Debtor FTX

Capital Markets LLC, which is an SEC-registered broker-dealer. Based on the information that I

have reviewed at this time, FTX Capital Markets LLC is solvent.

                     15.   The WRS Silo also owns 100% of the equity interests in non-Debtor

Embed Financial Technologies Inc., as well as its wholly-owned non-Debtor subsidiary Embed

Clearing LLC, which operates as a securities clearing firm and is an SEC-registered broker-

dealer. Based on the information that I have reviewed at this time, each of these non-Debtor

entities is solvent.

                     16.   The WRS Silo also owns 100% of the equity interests in FTX Value Trust

Company, a South Dakota Trust Company, which provides custodial services. Based on the

information that I have reviewed at this time, this non-Debtor company is solvent.

                     17.   The WRS Silo also owns 100% of other Debtor and non-Debtor

companies operating miscellaneous businesses, such as video game development and a market

place for trading non-fungible tokens. Finally, the WRS Silo has made loans and investments,


                                                  -5-

4892-0827-0654 v.2
                     Case 22-11068-JTD         Doc 24          Filed 11/17/22      Page 6 of 30




including a loan of FTT tokens to BlockFi Inc. in a principal amount of FTT tokens valued at

$250 million as of September 30, 2022.

                     18.      I have been provided with an unaudited consolidated balance sheet for the

WRS Silo as of September 30, 2022, which is the latest balance sheet available. The balance

sheet shows $1.36 billion in total assets as of that date. However, because this balance sheet was

produced while the Debtors were controlled by Mr. Bankman-Fried, I do not have confidence in

it, and the information therein may not be correct as of the date stated.

                     19.      The chart below summarizes certain information regarding the WRS

Silo’s consolidated assets as reflected in the September 30, 2022 balance sheet:

                                                      WRS Silo
                                   Consolidated Assets as of September 30, 2022
                           Current Assets
                            Cash and Cash Equivalents                          $144,207
                            Restricted Cash                                    $267,738
                            U.S. Dollar Denominated Stablecoins                 $68,035
                            Customer Custodial Funds                           $102,225
                            Accounts Receivable                                  $2,978
                            Accounts Receivable, Related Party                  $71,563
                            Loans Receivable                                   $250,000
                            Prepaid Expenses and Other Current Assets           $21,448
                            Crypto Assets Held at Fair Value                     $1,026
                           Total Current Assets                                $929,220
                           Property and Equipment, Net                           $2,017
                           Other Non-Current Assets                            $429,428
                           Total Assets                                      $1,360,665

(1)      Amounts shown in thousands of U.S. Dollars.
(2)      In the above table, assets shown reflect the elimination of intercompany entries within and between the
         WRS Silo and Dotcom Silo.
(3)      Restricted cash at the WRS Silo is primarily comprised of approximately $250 million in restricted funds at
         non-Debtor LedgerX.
(4)      Customer custodial fund assets are comprised of fiat customer deposit balances. Balances of customer
         crypto assets deposited were not recorded as assets on the balance sheet and are not presented.
(5)      Loans receivable of $250 million consists of a loan by Debtor West Realm Shires Inc. to BlockFi Inc. of
         $250 million in FTT tokens.
(6)      Intangible assets (in the amount of $229 million) are not reflected above. These consist of values
         attributable to customer relationships and trade names.

                                                         -6-

4892-0827-0654 v.2
                     Case 22-11068-JTD          Doc 24         Filed 11/17/22       Page 7 of 30



(7)      Goodwill balance (in the amount of $135 million) is not reflected above.

                     20.       To my knowledge, the WRS Silo Debtors do not have any long-term or

funded debt. The WRS Silo Debtors are expected to have significant liabilities arising from

crypto assets deposited by customers through the FTX US platform. However, such liabilities

are not reflected in the financial statements prepared while these companies were under the

control of Mr. Bankman-Fried. The chart below summarizes certain information regarding the

WRS Silo’s consolidated liabilities as reflected in the September 30, 2022 balance sheet:

                                                     WRS Silo
                                 Consolidated Liabilities as of September 30, 2022
                           Current Liabilities
                            Accounts Payable and Accrued Expenses                 $6,014
                            Accounts Payable, Related Party                     $124,221
                            Custodial Funds Due to Customers                    $102,225
                            Purchase Consideration Payable                             –
                            Loan Payable                                               –
                            Lease Liability, Current                              $1,672
                            Crypto Asset Borrowings at Fair Value                 $1,737
                           Total Current Liabilities                            $235,869
                           Lease Liability, Non-Current                           $9,399
                           Deferred Taxes                                        $20,185
                           Contract Liability                                       $887
                           SAFE Note, Related Party, Non-Current                 $50,000
                           Other Non-Current Liabilities                               –
                           Total Liabilities                                    $316,014

(1)      Amounts shown in thousands of U.S. Dollars.
(2)      In the above table, liabilities shown reflect the elimination of intercompany entries within and between the
         WRS Silo and Dotcom Silo.
(3)      Customer custodial fund liabilities are comprised of fiat customer deposit balances. Balances of customer
         crypto assets deposited are not presented.

                     21.       All Debtors and non-Debtors in the WRS Silo are organized in the State of

Delaware, other than non-Debtor FTX Vault Trust Company, which is a South Dakota Trust

Company.




                                                         -7-

4892-0827-0654 v.2
                     Case 22-11068-JTD          Doc 24       Filed 11/17/22   Page 8 of 30




                                           C.      The Alameda Silo

                     22.      The parent company and primary operating company in the Alameda Silo

is Alameda Research LLC, which is organized in the State of Delaware. Before the Petition Date

(as defined below), the Alameda Silo operated quantitative trading funds specializing in crypto

assets. Strategies included arbitrage, market making, yield farming and trading volatility. The

Alameda Silo also offered over-the-counter trading services, and made and managed other debt

and equity investments. In short, the Alameda Silo was a “crypto hedge fund” with a diversified

business trading and speculating in digital assets and related loans and securities for the account

of its owners, Messrs. Bankman-Fried (90%) and Wang (10%).

                     23.      Alameda Research LLC prepared consolidated financial statements on a

quarterly basis. To my knowledge, none of these financial statements have been audited. The

September 30, 2022 balance sheet for the Alameda Silo shows $13.46 billion in total assets as of

its date. However, because this balance sheet was unaudited and produced while the Debtors

were controlled by Mr. Bankman-Fried, I do not have confidence in it and the information

therein may not be correct as of the date stated.

                     24.      The chart below summarizes certain information regarding the Alameda

Silo’s consolidated assets as reflected in the September 30, 2022 balance sheet:

                                                   Alameda Silo
                                    Consolidated Assets as of September 30, 2022
                           Current Assets
                            Cash and Cash Equivalents                           $547,964
                            Restricted Cash                                            -
                            U.S. Dollar Denominated Stablecoins                        -
                            Customer Custodial Funds                                   -
                            Investments                                       $3,976,632
                            Accounts Receivable                                  $10,845
                            Accounts Receivable, Related Party                  $427,323
                            Loans Receivable                                     $41,607
                            Loans Receivable, Related Party                   $4,102,365
                            Prepaid Expenses and Other Current Assets             $1,083
                            Crypto Assets Held at Fair Value                  $4,084,886
                                                       -8-

4892-0827-0654 v.2
                     Case 22-11068-JTD          Doc 24         Filed 11/17/22    Page 9 of 30




                           Total Current Assets                                 $13,192,706
                           Property and Equipment, Net                              $26,763
                           Other Non-Current Assets                               $239,696
                           Total Assets                                         $13,459,165

(1)      Amounts shown in thousands of U.S. Dollars.
(2)      In the above table, intercompany accounts receivable, accounts payable, loans payable, and loans
         receivable are not presented.
(3)      Related Party Loans Receivable of $4.1 billion at Alameda Research (consolidated) consisted primarily of a
         loan by Euclid Way Ltd. to Paper Bird Inc. (a Debtor) of $2.3 billion and three loans by Alameda Research
         Ltd.: one to Mr. Bankman-Fried, of $1 billion; one to Mr. Singh, of $543 million; and one to Ryan Salame,
         of $55 million.

                     25.      The chart below summarizes certain information regarding the Alameda

Silo’s consolidated liabilities as reflected in the September 30, 2022 balance sheet:

                                                     Alameda Silo
                                 Consolidated Liabilities as of September 30, 2022
                           Current Liabilities
                            Accounts Payable and Accrued Expenses               $916,305
                            Accounts Payable, Related Party                      $75,900
                            Custodial Funds Due to Customers                    $309,634
                            Purchase Consideration Payable                             -
                            Loans Payable                                              -
                            Loans Payable, Related Party                         $13,762
                            Lease Liability, Current                                   -
                            Crypto Asset Borrowings at Fair Value             $3,773,979
                           Total Current Liabilities                          $5,089,579
                           Lease Liability, Non-Current                                -
                           Deferred Taxes                                              -
                           Contract Liability                                          -
                           SAFE Note, Related Party, Non-Current                       -
                           Other Non-Current Liabilities                               -
                           Total Liabilities                                  $5,089,579

(1)      Amounts shown in thousands of U.S. Dollars.
(2)      In the above table, intercompany accounts receivable, accounts payable, loans payable, and loans
         receivable are not presented.

                     26.      As mentioned above, Alameda Research LLC is organized in the State of

Delaware. The other Debtors in the Alameda Silo are organized in Delaware, Korea, Japan, the

British Virgin Islands, Antigua, Hong Kong, Singapore, the Seychelles, the Cayman Islands, the

Bahamas, Australia, Panama, Turkey and Nigeria.


                                                         -9-

4892-0827-0654 v.2
                     Case 22-11068-JTD       Doc 24   Filed 11/17/22     Page 10 of 30




                                        D.     The Ventures Silo

                     27.   The Debtors in the Ventures Silo make and manage private investments.

The investments are held in Debtors Clifton Bay Investments, LLC, Clifton Bay Investments

Ltd., FTX Ventures Ltd., Island Bay Ventures Inc. and, potentially, affiliated companies.

                     28.   To my knowledge, Debtors Clifton Bay Investments, LLC and FTX

Ventures Ltd. prepared financial statements on a quarterly basis. The September 30, 2022

balance sheet for Debtor Clifton Bay Investments LLC shows assets with a total value of $1.52

billion as of its date, and the September 30, 2022 balance sheet for FTX Ventures Ltd. shows

assets with a total value of $493 million as of its date. To my knowledge, none of these financial

statements have been audited. Because these balance sheets were unaudited and produced while

the Debtors were controlled by Mr. Bankman-Fried, I do not have confidence in them, and the

information therein may not be correct as of the date stated.

                     29.   I have not been able to locate financial statements for Island Bay Ventures

Inc.

                     30.   The chart below summarizes certain information regarding the Ventures

Silo’s assets as reflected in the September 30, 2022 balance sheets, excluding any assets held by

Island Bay Ventures Inc.

                                              Ventures Silo
                               Consolidated Assets as of September 30, 2022
                                                             Clifton Bay
                                                             Investments    FTX Ventures
                                                                LLC             Ltd
                                                            (consolidated)
             Current Assets
              Cash and Cash Equivalents                               $245             $261
              Restricted Cash                                            -                -
              U.S. Dollar Denominated Stablecoins                        -                -
              Customer Custodial Funds                                   -                -
              Investments                                       $1,492,856         $397,861
              Accounts Receivable                                        -                -
              Accounts Receivable, Related Party                   $10,200                -
                                                    -10-

4892-0827-0654 v.2
                     Case 22-11068-JTD        Doc 24       Filed 11/17/22        Page 11 of 30



              Loans Receivable                                           $16,810                    -
              Loans Receivable, Related Party                                  -                    -
              Prepaid Expenses and Other Current Assets                        -                    -
              Crypto Assets Held at Fair Value                                 -              $95,337
             Total Current Assets                                     $1,520,111             $493,459
             Property and Equipment, Net                                       -                    -
             Other Non-Current Assets                                          -                    -
             Total Assets                                             $1,520,111             $493,459

(1)      Amounts shown in thousands of U.S. Dollars.
(2)      In the above table, intercompany accounts receivable, accounts payable, loans payable, and loans
         receivable are not presented.

                     31.   The chart below summarizes certain information regarding the Ventures

Silo’s liabilities as reflected in the September 30, 2022 balance sheets excluding any liabilities of

Island Bay Ventures Inc.:

                                               Ventures Silo
                              Consolidated Liabilities as of September 30, 2022
                                                               Clifton Bay     FTX Ventures
                                                               Investments         Ltd
                                                                  LLC
                                                              (Consolidated)
             Current Liabilities
              Accounts Payable and Accrued Expenses                      $44                -
              Accounts Payable, Related Party                     $1,519,283        $129,518
              Custodial Funds Due to Customers                              -               -
              Purchase Consideration Payable                                -              -
              Loans Payable                                                 -              -
              Loans Payable, Related Party                                  -       $362,915
              Lease Liability, Current                                      -               -
              Crypto Asset Borrowings at Fair Value                         -               -
             Total Current Liabilities                            $1,519,326        $492,432
             Lease Liability, Non-Current                                   -               -
             Deferred Taxes                                                 -               -
             Contract Liability                                             -               -
             SAFE Note, Related Party, Non-Current                          -               -
             Other Non-Current Liabilities                                  -              -
             Total Liabilities                                    $1,519,326        $492,432

(1)      Amounts shown in thousands of U.S. Dollars.
(2)      In the above table, intercompany accounts receivable, accounts payable, loans payable, and loans
         receivable are not presented.
(3)      Related Party Accounts Payable at Clifton Bay Investments LLC consists of four related-party balances:
         one with Debtor Alameda Research Ltd, of $1,400 million; one with Debtor Alameda Research LLC, of
         $68.6 million; one with Alameda Ventures Ltd, of $38.5 million; and one with Debtor West Realm Shires
         Services Inc. of $2.25 million.
                                                       -11-

4892-0827-0654 v.2
                     Case 22-11068-JTD         Doc 24     Filed 11/17/22        Page 12 of 30



(4)      Customer custodial fund liabilities are comprised of fiat customer deposit balances. Balances of customer
         crypto assets deposited are not presented.

                     32.   All Debtors in the Ventures Silo are organized in the State of Delaware or

the British Virgin Islands.

                                          E.       The Dotcom Silo

                     33.   The Dotcom Silo includes FTX.com, the trade name for the business

conducted by the parent company in the Dotcom Silo, FTX Trading Ltd., which is organized in

Antigua. FTX.com is a digital asset trading platform and exchange. It was founded by Messrs.

Bankman-Fried, Wang and Singh and commenced operations in May 2019. The Dotcom Silo

also holds certain marketplace licenses and registrations in certain non-U.S. jurisdictions,

including the European Union and Japan. The FTX.com platform is not available to U.S. users.

                     34.   In addition to its core digital asset exchange, the Dotcom Silo offered an

off-exchange portal that enabled users to connect and request quotes for spot digital assets and

trade directly. The portal enabled users to lend their digital assets to other users for spot trading

and matched users wanting to borrow with those willing to lend.

                     35.   The FTX.com platform grew quickly since its launch to become one of the

largest cryptocurrency exchanges in the world. Mr. Bankman-Fried claimed that, by the end of

2021, around $15 billion of assets were on the platform, which according to him handled

approximately 10% of global volume for crypto trading at the time. Mr. Bankman-Fried also

claimed that FTX.com, as of July 2022, had “millions” of registered users. These figures have

not been verified by my team.

                     36.   The Dotcom Silo’s unaudited consolidated balance sheet as of September

30, 2022 is the latest balance sheet that was provided to me with respect to the Dotcom Silo. It

shows total assets of $2.25 billion as of September 30, 2022. Because such balance sheet was

                                                       -12-

4892-0827-0654 v.2
                     Case 22-11068-JTD         Doc 24      Filed 11/17/22           Page 13 of 30




produced while the Debtors were controlled by Mr. Bankman-Fried, I do not have confidence in

it, and the information therein may not be correct as of the date stated.

                     37.      The chart below summarizes certain information regarding the Dotcom

Silo’s consolidated assets as reflected in the September 30, 2022 balance sheet:

                                                    Dotcom Silo
                                   Consolidated Assets as of September 30, 2022
                           Current Assets
                            Cash and Cash Equivalents                          $483,724
                            Restricted Cash                                     $10,188
                            U.S. Dollar Denominated Stablecoins              $1,140,795
                            Customer Custodial Funds                                  –
                            Accounts Receivable                                  $9,459
                            Accounts Receivable, Related Party                $188,155
                            Loans Receivable                                   $103,949
                            Prepaid Expenses and Other Current Assets           $42,661
                            Crypto Assets Held at Fair Value                       $659
                           Total Current Assets                              $1,979,590
                           Property and Equipment, Net                         $256,996
                           Other Non-Current Assets                             $22,148
                           Total Assets                                      $2,258,734

(1)      Amounts shown in thousands of U.S. Dollars.
(2)      The balance sheet for non-Debtor FTX Digital Markets Ltd. is consolidated to Debtor FTX Trading Ltd.’s
         balance sheet. The September 30, 2022 Balance Sheet of non-Debtor FTX Digital Markets Ltd. reflects an
         asset position of $149,336, as follows: Cash and Cash Equivalents ($82,564), Restricted Cash ($10,000),
         U.S. Dollar Denominated Stablecoins ($63), Related Party Receivables ($45,944), Prepaid Expenses and
         Other Current Assets ($4,922), Property and Equipment, Net ($5,565) and Other Non-Current Assets
         ($278) (amounts in thousands of U.S. Dollars).
(3)      Non-debtor FTX Digital Markets Ltd. has a net intercompany accounts payable of $30 million due to
         entities controlled by Debtor FTX Trading Ltd.
(4)      In the above table, assets shown reflect the elimination of intercompany entries within and between the
         WRS Silo and Dotcom Silo.
(5)      Customer custodial fund assets are comprised of fiat customer deposit balances. Balances of customer
         crypto assets deposited are not presented.
(6)      Loans Receivable of $250 million at FTX US consists of a loan to BlockFi Inc. of $250 million in FTT
         tokens.
(7)      Intangible assets (in the amount of $343 million) are not reflected above. These consist of values
         attributable to customer relationships and trade names.
(8)      Goodwill balance (in the amount of $359 million) is not reflected above.

                     38.      To my knowledge, the Dotcom Silo Debtors do not have any long-term or

funded debt. The Dotcom Silo Debtors may have significant liabilities to customers through the

                                                        -13-

4892-0827-0654 v.2
                     Case 22-11068-JTD            Doc 24     Filed 11/17/22        Page 14 of 30




FTX.com platform. However, such liabilities are not reflected in the financial statements

prepared by these companies while they were under the control of Mr. Bankman-Fried. The

chart below summarizes certain information regarding the Dotcom Silo’s consolidated liabilities

as reflected in the September 30, 2022 balance sheet:

                                                     Dotcom Silo
                                 Consolidated Liabilities as of September 30, 2022
                           Current Liabilities
                            Accounts Payable and Accrued Expenses                $38,970
                            Accounts Payable, Related Party                     $125,626
                            Custodial Funds Due to Customers                           –
                            Purchase Consideration Payable                       $26,970
                            Loan Payable                                        $124,298
                            Lease Liability, Current                                 $23
                            Crypto Asset Borrowings at Fair Value               $149,723
                           Total Current Liabilities                            $465,610
                           Lease Liability, Non-Current                                –
                           Deferred Taxes                                              –
                           Contract Liability                                          –
                           SAFE Note, Related Party, Non-Current                       –
                           Other Non-Current Liabilities                             $46
                           Total Liabilities                                    $465,656

(1)      Amounts shown in thousands of U.S. Dollars.
(2)      In the above table, liabilities shown reflect the elimination of intercompany entries within and between the
         WRS Silo and Dotcom Silo.
(3)      The balance sheet for non-Debtor FTX Digital Markets Ltd. is consolidated to Debtor FTX Trading Ltd.’s
         balance sheet. The September 30, 2022 Balance Sheet of non-Debtor FTX Digital Markets Ltd. reflects
         total liabilities in the amount of $1,278, as follows: Accounts Payable and Accrued Expenses ($1,259),
         Accounts Payable, Related Party ($19) (amounts in thousands of U.S. Dollars).
(4)      Customer custodial fund liabilities are comprised of fiat customer deposit balances. Balances of customer
         crypto assets deposited were not recorded as assets on the balance sheet and are not presented.

                     39.         The Debtors in the Dotcom Silo are organized in jurisdictions around the

world, with the parent company FTX Trading Ltd. organized in Antigua. The Debtors in the

Dotcom Silo also own 100% of the equity interests in over a dozen non-Debtor companies.

                           II.       EVENTS LEADING TO CHAPTER 11 FILING

                     40.         The Debtors faced a severe liquidity crisis that necessitated the filing of

these Chapter 11 Cases on an emergency basis on November 11, 2022, and in the case of Debtor
                                                          -14-

4892-0827-0654 v.2
                     Case 22-11068-JTD     Doc 24     Filed 11/17/22     Page 15 of 30




West Realm Shires Inc., on November 14, 2022 (collectively, the “Petition Date”). In the days

leading up to the Petition Date, certain of the circumstances described in Part III below became

known to a broader set of executives of the FTX Group beyond Mr. Bankman-Fried and

members of his inner circle. Questions arose about Mr. Bankman-Fried’s leadership and the

handling of the Debtors’ complex array of assets and businesses.

                     41.   As the situation became increasingly dire, Sullivan & Cromwell and

Alvarez & Marsal were engaged to provide restructuring advice and services to the Debtors.

                     42.   On November 10, 2022, the Securities Commission of the Bahamas (the

“SCB”) took action to freeze assets of non-Debtor FTX Digital Markets Ltd., a service provider

to FTX Trading Ltd. and the employer of certain current and former executives and staff in the

Bahamas. Mr. Brian Simms, K.C. was appointed as provisional liquidator of FTX Digital

Markets Ltd. on a sealed record. The provisional liquidator for this Bahamas subsidiary has filed

a chapter 15 petition seeking recognition of the provisional liquidation proceeding in the

Bankruptcy Court for the Southern District of New York.

                     43.   In addition, in the first hours of November 11, 2022 EST, the directors of

non-Debtors FTX Express Pty Ltd and FTX Australia Pty Ltd., both Australian entities,

appointed Messrs. Scott Langdon, John Mouawad and Rahul Goyal of KordaMentha

Restructuring as voluntary administrators.

                     44.   At the same time, negotiations were being held between certain senior

individuals of the FTX Group and Mr. Bankman-Fried concerning the resignation of Mr.

Bankman-Fried and the commencement of these Chapter 11 Cases. Mr. Bankman-Fried

consulted with numerous lawyers, including lawyers at Paul, Weiss, Rifkind, Wharton &

Garrison LLP, other legal counsel and his father, Professor Joseph Bankman of Stanford Law


                                                   -15-

4892-0827-0654 v.2
                     Case 22-11068-JTD     Doc 24      Filed 11/17/22     Page 16 of 30




School. A document effecting a relinquishment of control was prepared and comments from Mr.

Bankman-Fried’s team incorporated. At approximately 4:30 a.m. EST on Friday, November 11,

2022, after further consultation with his legal counsel, Mr. Bankman-Fried ultimately agreed to

resign, resulting in my appointment as the Debtors’ CEO. I was delegated all corporate powers

and authority under applicable law, including the power to appoint independent directors and

commence these Chapter 11 Cases on an emergency basis.

                     45.   Other than the proceedings in the Bahamas and Australia, to my

knowledge, no other Debtor or non-Debtor subsidiary is subject to other insolvency proceedings

at this time.

          III.        ACTION TAKEN SINCE MR. BANKMAN-FRIED’S DEPARTURE

                                   A.     New Governance Structure

                     46.   Many of the companies in the FTX Group, especially those organized in

Antigua and the Bahamas, did not have appropriate corporate governance. I understand that

many entities, for example, never had board meetings.

                     47.   The following new independent directors (the “Directors”) have been

appointed as directors of the primary companies in the FTX Group:

                     (a)   WRS Silo: Mitchell I. Sonkin: Mitchell Sonkin is currently a Senior
                           Advisor to MBIA Insurance Corporation in connection with the
                           restructuring of the Firm’s insured portfolio exposure of the
                           Commonwealth of Puerto Rico’s $72 billion of outstanding debt. He is
                           also currently Chairman of the Board of the ResCap Liquidating Trust,
                           successor to ResCap and GMAC Mortgage Corporations. Before joining
                           MBIA, Mr. Sonkin was a senior partner at the international law firm, King
                           & Spalding, where he was co-chair of King & Spalding’s Financial
                           Restructuring Group and a member of the firm’s Policy Committee. He
                           has over 40 years of experience in U.S. and international bond issuances,
                           corporate reorganizations, bankruptcies and other debt restructurings and
                           has served as a bankruptcy-court-appointed examiner. In particular, he has
                           played a significant role in numerous municipal, utility, insurance, airline,
                           healthcare debt and international debt restructurings including the
                           Anglo/French Euro Tunnel debt reorganization.
                                                    -16-

4892-0827-0654 v.2
                     Case 22-11068-JTD      Doc 24     Filed 11/17/22     Page 17 of 30




                     (b)   Alameda Silo: Matthew R. Rosenberg: Mr. Rosenberg is a Partner at
                           Lincoln Park Advisors, a financial advisory firm that he founded in 2014.
                           He has more than 25 years of restructuring, corporate finance, principal
                           investing, operating and board experience. Prior to founding Lincoln Park
                           Advisors, he was a partner at the restructuring and investment banking
                           firm Chilmark Partners, a partner in two private equity funds, the
                           Zell/Chilmark Fund and Chilmark Fund II, the Chief Restructuring Officer
                           of The Wellbridge Company and a member of multiple corporate boards.
                           His restructuring advisory experience includes such companies as OSG,
                           Supermedia, Nortel, Trinity Coal, USG Corporation, JHT Holdings, Inc.,
                           Covanta Energy, Sirva, Lodgian, Inc., ContiGroup Companies, Inc., Fruit
                           of the Loom, Ltd. and Recycled Paper Greetings.

                     (c)   Ventures Silo: Rishi Jain: Mr. Jain is a Managing Director and Co-
                           Head of the Western Region of Accordion, a financial and technology
                           consulting firm focused on the private equity industry. He has more than
                           25 years of experience supporting management teams and leading finance
                           and operations initiatives in both stressed and distressed environments.
                           Prior to joining Accordion, Mr. Jain was part of Alvarez & Marsal’s
                           corporate restructuring and turnaround practice for over 10 years and
                           served in a variety of senior financial operating roles. His most notable
                           assignments have included helping lead the restructuring, liquidation and
                           wind down of Washington Mutual and its predecessor entity, WMI
                           Liquidating Trust. He also navigated the restructuring of Global
                           Geophysical Services in its chapter 11 and eventually the liquidation and
                           wind down in its second chapter 11 filing.

                     (d)   Dotcom Silo: The Honorable Joseph J. Farnan (Lead Independent
                           Director): Mr. Farnan served as a United States District Judge for the
                           District of Delaware from 1985 to 2010. He served as Chief Judge from
                           1997-2001. During his tenure, Mr. Farnan presided over numerous bench
                           and jury trials involving complex commercial disputes. Prior to his
                           appointment to the federal bench, Mr. Farnan was appointed to several
                           positions in local, state and the federal government returning to private
                           practice in 2010 with the formation of Farnan LLP, a law firm focused on
                           complex commercial matters, including chapter 11 proceedings, securities
                           litigation, antitrust litigation and patent litigation. Additionally, Mr.
                           Farnan serves as an arbitrator, mediator, independent director and trustee
                           of businesses contemplating or filing chapter 11 bankruptcy.

                     (e)   Dotcom Silo: Matthew A. Doheny: Mr. Doheny is President of North
                           Country Capital LLC, an advisory and investment firm focused on
                           challenging advisory assignments and investing private investment
                           portfolios in special situation opportunities. He has held this position since
                           January 2011. Mr. Doheny has served on the board of directors or as Chief
                           Restructuring Officer of numerous stressed and distressed companies,
                           including Yellow Corp., MatlinPatterson, GMAC Rescap and Eastman
                                                     -17-

4892-0827-0654 v.2
                     Case 22-11068-JTD      Doc 24   Filed 11/17/22     Page 18 of 30




                           Kodak. He was also Managing Director and Head of Special Situations
                           Investing at HSBC Securities Inc. from 2015 to 2017. Previously, Mr.
                           Doheny served as Portfolio Manager in Special Situations at Fintech
                           Advisory Inc. from 2008 to 2010 and as Managing Director of the
                           Distressed Products Group at Deutsche Bank Securities Inc. from 2000 to
                           2008.

                     48.   The appointment of the Directors will provide the FTX Group with

appropriate corporate governance for the first time.

                     49.   The Directors intend to hold joint board meetings of the Debtors on

matters of common interest, including (a) the implementation of controls, (b) asset protection

and recovery, (c) the investigation into claims against the founders and third parties, (d)

cooperation with insolvency proceedings of subsidiary companies in other jurisdictions and (e)

the maximization of value for all stakeholders through the eventual reorganization or sale of the

Debtors’ complex array of businesses, investments and property around the world. The

Directors will implement appropriate procedures for the resolution of any conflicts of interest

among the Silos and, if necessary, within the Silos as the case progresses, including the potential

engagement of independent counsel to represent various Debtors in the resolution of

intercompany claims against other Debtors. I expect there to be a multitude of intercompany

claims that will benefit from fair resolution under the rules and conventions of U.S. chapter 11

practice in the District of Delaware for complex, multi-Debtor cases. For the time being, my

belief is that all stakeholders are best served by a coordinated and centralized administration.

                                       B.     Cash Management

                     50.   The FTX Group did not maintain centralized control of its cash. Cash

management procedural failures included the absence of an accurate list of bank accounts and

account signatories, as well as insufficient attention to the creditworthiness of banking partners



                                                  -18-

4892-0827-0654 v.2
                     Case 22-11068-JTD            Doc 24       Filed 11/17/22           Page 19 of 30




around the world. Under my direction, the Debtors are establishing a centralized cash

management system with proper controls and reporting mechanisms.

                     51.       During these Chapter 11 Cases, cash that the Debtors are able to locate

and transfer to the United States without adverse consequences, including substantially all

proceeds of the global reorganization effort, will be deposited into financial institutions in the

United States that are approved depository institutions in accordance with the U.S. Trustee

Guidelines. Each Silo will have a centralized cash pool, and the Debtors will implement

appropriate arrangements for allocating costs across the various Silos and Debtors. The Debtors

expect to file promptly a Cash Management Motion that will describe the new cash management

system in more detail.

                     52.       Because of historical cash management failures, the Debtors do not yet

know the exact amount of cash that the FTX Group held as of the Petition Date. The Debtors are

working with Alvarez & Marsal to verify all cash positions. To date, it has been possible to

approximate the following balances as of the Petition Date based on available books and records:

Entity                               Unrestricted Cash         Custodial Cash       Other Restricted Cash   Total Cash

Debtor Entities
 FTX EU Ltd                                     $1,250,848           $47,925,646                 $175,832      $49,352,327
 West Realm Shires Services
                                               $32,233,606           $14,596,119               $1,270,700      $48,100,425
 Inc.
 West Realm Shires Inc.                        $35,411,619                      -                       -      $35,411,619
 Paper Bird Inc                                 $7,906,893                      -                       -       $7,906,893
 FTX Exchange FZE                               $1,812,563                      -              $4,000,000       $5,812,563
 Ledger Holdings Inc.                           $4,098,480                      -                       -       $4,098,480
 FTX TURKEY TEKNOLOJİ
 VE TİCARET ANONİM                                $36,682             $3,069,526                        -       $3,106,208
 ŞİRKET
 FTX Europe AG                                  $2,979,584                     -                        -       $2,979,584
 FTX Trading Ltd                                 $375,726             $2,600,324                        -       $2,976,050
 Maclaurin Investments Ltd.                     $2,529,814                     -                        -       $2,529,814
 Blockfolio, Inc.                               $2,396,067                     -                        -       $2,396,067
 Ledger Prime LLC                               $2,230,765                     -                        -       $2,230,765
 Crypto Bahamas LLC                              $900,000                      -                        -        $900,000
 FTX Ventures Ltd                                $779,542                      -                        -        $779,542
 West Realm Shires Financial
                                                 $576,831                       -                       -        $576,831
 Services Inc.
 FTX Lend Inc.                                   $484,738                       -                       -        $484,738
 FTX Trading GmbH                                $146,059                       -                       -        $146,059
 FTX Switzerland GmbH                             $16,799                       -                       -         $16,799


                                                             -19-

4892-0827-0654 v.2
                     Case 22-11068-JTD             Doc 24       Filed 11/17/22           Page 20 of 30



Entity                                Unrestricted Cash         Custodial Cash       Other Restricted Cash   Total Cash

Total Debtor Entities                           $96,166,614           $68,191,615               $5,446,532     $169,804,762
Non-Debtor Entities
 LedgerX LLC                                    $13,644,269           $24,103,085             $265,603,056     $303,350,409
 FTX Digital Markets Ltd                                  -                     -              $49,999,600      $49,999,600
 Embed Clearing LLC.                                      -                     -              $29,978,776      $29,978,776
 FTX Philanthropy Inc                           $10,877,387                     -                        -      $10,877,387
 Embed Financial Technologies
                                                  $395,371                       -                       -        $395,371
 Inc
Total Non-Debtor Entities                       $24,917,027           $24,103,085             $345,581,432     $394,601,543
Total                                          $121,083,641           $92,294,700             $351,027,964     $564,406,305


                     53.        The Debtors have been in contact with banking institutions that they

believe hold or may hold Debtor cash. These banking institutions have been instructed to freeze

withdrawals and alerted not to accept instructions from Mr. Bankman-Fried or other signatories.

Proper signature authority and reporting systems are expected to be arranged shortly.

                     54.        Effective cash management also requires liquidity forecasting, which I

understand was also generally absent from the FTX Group historically. The Debtors are putting

in place the systems and processes necessary for Alvarez & Marsal to produce a reliable cash

forecast as well as the cash reporting required for Monthly Operating Reports under the

Bankruptcy Code.

                                             C.           Financial Reporting

                     55.        The FTX Group received audit opinions on consolidated financial

statements for two of the Silos – the WRS Silo and the Dotcom Silo – for the period ended

December 31, 2021. The audit firm for the WRS Silo, Armanino LLP, was a firm with which I

am professionally familiar. The audit firm for the Dotcom Silo was Prager Metis, a firm with

which I am not familiar and whose website indicates that they are the “first-ever CPA firm to

officially open its Metaverse headquarters in the metaverse platform Decentraland.”4



4
    https://pragermetis.com/news/prager-metis-opens-first-ever-cpa-firm-metaverse/.


                                                              -20-

4892-0827-0654 v.2
                     Case 22-11068-JTD      Doc 24    Filed 11/17/22     Page 21 of 30




                     56.   I have substantial concerns as to the information presented in these audited

financial statements, especially with respect to the Dotcom Silo. As a practical matter, I do not

believe it appropriate for stakeholders or the Court to rely on the audited financial statements as a

reliable indication of the financial circumstances of these Silos.

                     57.   The Debtors have not yet been able to locate any audited financial

statements with respect to the Alameda Silo or the Ventures Silo.

                     58.   The Debtors are locating and securing all available financial records but

expect it will be some time before reliable historical financial statements can be prepared for the

FTX Group with which I am comfortable as Chief Executive Officer. The Debtors do not have

an accounting department and outsource this function.

                                       D.      Human Resources

                     59.   The FTX Group’s approach to human resources combined employees of

various entities and outside contractors, with unclear records and lines of responsibility. At this

time, the Debtors have been unable to prepare a complete list of who worked for the FTX Group

as of the Petition Date, or the terms of their employment. Repeated attempts to locate certain

presumed employees to confirm their status have been unsuccessful to date.

                     60.   Nevertheless, there is a core team of dedicated employees at the FTX

Group who have stayed focused on their jobs during this crisis and with whom I have established

appropriate lines of authority and working relationships. The Debtors continue to review

personnel issues but I expect, based on my experience and the nature of the Debtors’ business,

that a large number of employees of the Debtors will need to continue to work for the Debtors

for the foreseeable future in order to establish accountability, preserve value and maximize

stakeholder recoveries after the departure of Mr. Bankman-Fried. As Chief Executive Officer, I

am thankful for the extraordinary efforts of this group of employees, who despite difficult
                                                -21-

4892-0827-0654 v.2
                     Case 22-11068-JTD     Doc 24     Filed 11/17/22    Page 22 of 30




personal circumstances, have risen to the occasion and demonstrated their critical importance to

the Debtors.

                     61.    The Debtors are preparing one or more motions to address issues relating

to continuing employees and contractors. The Debtors also may hire new employees and

officers with turnaround or other relevant experience in core functions where I determine that

new leadership is required. I anticipate that the Debtors will be able to file these motions in the

coming days.

                                     E.     Disbursement Controls

                     62.   The Debtors did not have the type of disbursement controls that I believe

are appropriate for a business enterprise. For example, employees of the FTX Group submitted

payment requests through an on-line ‘chat’ platform where a disparate group of supervisors

approved disbursements by responding with personalized emojis.

                     63.   In the Bahamas, I understand that corporate funds of the FTX Group were

used to purchase homes and other personal items for employees and advisors. I understand that

there does not appear to be documentation for certain of these transactions as loans, and that

certain real estate was recorded in the personal name of these employees and advisors on the

records of the Bahamas.

                     64.   The Debtors now are implementing a centralized disbursement approval

process that reports to me as Chief Executive Officer.

                                      F.     Digital Asset Custody

                     65.   The FTX Group did not keep appropriate books and records, or security

controls, with respect to its digital assets. Mr. Bankman-Fried and Mr. Wang controlled access

to digital assets of the main businesses in the FTX Group (with the exception of LedgerX,

regulated by the CFTC, and certain other regulated and/or licensed subsidiaries). Unacceptable
                                              -22-

4892-0827-0654 v.2
                     Case 22-11068-JTD      Doc 24    Filed 11/17/22     Page 23 of 30




management practices included the use of an unsecured group email account as the root user to

access confidential private keys and critically sensitive data for the FTX Group companies

around the world, the absence of daily reconciliation of positions on the blockchain, the use of

software to conceal the misuse of customer funds, the secret exemption of Alameda from certain

aspects of FTX.com’s auto-liquidation protocol, and the absence of independent governance as

between Alameda (owned 90% by Mr. Bankman-Fried and 10% by Mr. Wang) and the Dotcom

Silo (in which third parties had invested).

                     66.    The Debtors have located and secured only a fraction of the digital assets

of the FTX Group that they hope to recover in these Chapter 11 Cases. The Debtors have

secured in new cold wallets approximately $740 million of cryptocurrency that the Debtors

believe is attributable to either the WRS, Alameda and/or Dotcom Silos. The Debtors have not

yet been able to determine how much of this cryptocurrency is allocable to each Silo, or even if

such an allocation can be determined. These balances exclude cryptocurrency not currently

under the Debtors’ control as a result of (a) at least $372 million of unauthorized transfers

initiated on the Petition Date, during which time the Debtors immediately began moving

cryptocurrency into cold storage to mitigate the risk to the remaining cryptocurrency that was

accessible at the time, (b) the dilutive ‘minting’ of approximately $300 million in FTT tokens by

an unauthorized source after the Petition Date and (c) the failure of the co-founders and

potentially others to identify additional wallets believed to contain Debtor assets.

                     67.   In response, the Debtors have engaged forensic analysts to identify

potential Debtor assets on the blockchain, cybersecurity professionals to identify the parties

responsible for the unauthorized transactions on and after the Petition Date and investigators to

begin the process of identifying what may be very substantial transfers of Debtor property in the


                                                   -23-

4892-0827-0654 v.2
                     Case 22-11068-JTD     Doc 24     Filed 11/17/22    Page 24 of 30




days, weeks and months prior to the Petition Date. The Debtors’ team includes business,

accounting, forensic, technical and legal resources that I believe are among the best in the world

at these activities. It is my expectation that the Debtors will require assistance from the Court

with respect to these matters as the investigation and these Chapter 11 Cases continue.

                     68.   Although the investigation has only begun and must run its course, it is my

view based on the information obtained to date, that many of the employees of the FTX Group,

including some of its senior executives, were not aware of the shortfalls or potential

commingling of digital assets. Indeed, I believe some of the people most hurt by these events are

current and former employees and executives, whose personal investments and reputations have

suffered. These are many of the same people whose work will be necessary to ensure the

maximization of value for all stakeholders going forward.

                            G.    Custody of Other Assets and Investments

                     69.   The FTX Group had billions in investments other than cryptocurrency, as

suggested above in the descriptions of the four Silos. However, the main companies in the

Alameda Silo and the Ventures Silo did not keep complete books and records of their

investments and activities.

                     70.   The Debtors are creating a balance sheet and other financial statements for

the Alameda Silo and the Ventures Silo as of the Petition Date. The Debtors are doing so from

the ‘bottom-up’ by using the records of cash transactions at the Debtors, and also are reviewing

various third-party sources to locate investments.

                            H.     Information and Retention of Documents

                     71.   One of the most pervasive failures of the FTX.com business in particular

is the absence of lasting records of decision-making. Mr. Bankman-Fried often communicated


                                                   -24-

4892-0827-0654 v.2
                     Case 22-11068-JTD     Doc 24     Filed 11/17/22     Page 25 of 30




by using applications that were set to auto-delete after a short period of time, and encouraged

employees to do the same.

                     72.   The Debtors are writing things down. The investigative effort underway is

led by myself and a team at Sullivan & Cromwell that reports directly to me, including a former

Director of Enforcement at the SEC, a former Director of Enforcement at the CFTC, and a

former Chief of the Complex Frauds and Cybercrime Unit of the United States Attorney’s Office

for the Southern District of New York. I regard ensuring the comprehensiveness,

professionalism and integrity of this investigation as an essential part of my job as Chief

Executive Officer.

                     73.   Transparency with regulators around the world is an important objective

for the Debtors. Since Friday, the Debtors have been in contact with dozens of regulators

throughout the United States and around the world, and will continue to be as these cases

continue.

                             I.      Regulated and Licensed Subsidiaries

                     74.   The FTX Group included regulated or licensed subsidiaries in many

jurisdictions that may or may not have valuable going concern franchises. The Debtors will soon

be taking efforts to preserve these subsidiary businesses to the extent practicable under the

circumstances. The Debtors also are engaging a leading investment bank to assist the Debtors in

valuing these businesses and potentially conducting sales efforts.

                                         J.      Access to Data

                     75.   The Debtors have cryptocurrency, digital assets and other critically

sensitive data in repositories that have been the subject of unauthorized attempts to access. The

Debtors have implemented certain defensive measures. The Debtors have been advised that

attempts to access this property of the estate may create a risk of its loss to unauthorized persons.
                                                -25-

4892-0827-0654 v.2
                     Case 22-11068-JTD       Doc 24      Filed 11/17/22     Page 26 of 30




The Debtors expect to seek special relief from the Court to authorize measures to access this

information as safely as possible. The Debtors are unable to create a list of their top 50 creditors

that includes customers without access to the data repositories at issue, and may seek related

relief from the Court as well if the problem cannot be promptly resolved.

                                    K.      Corporate Communications

                     76.    Finally, and critically, the Debtors have made clear to employees and the

public that Mr. Bankman-Fried is not employed by the Debtors and does not speak for them. Mr.

Bankman-Fried, currently in the Bahamas, continues to make erratic and misleading public

statements. Mr. Bankman-Fried, whose connections and financial holdings in the Bahamas

remain unclear to me, recently stated to a reporter on Twitter: “F*** regulators they make

everything worse” and suggested the next step for him was to “win a jurisdictional battle vs.

Delaware”.

                     I declare under penalty of perjury that the foregoing is true and correct.



Dated: November 17, 2022                                    /s/ John J. Ray III
                                                            Name: John J. Ray III
                                                            Title: Chief Executive Officer




                                                     -26-

4892-0827-0654 v.2
                     Case 22-11068-JTD    Doc 24   Filed 11/17/22   Page 27 of 30




                                              Exhibit A

                              Summary of the Silos and Indicative Assets




4892-0827-0654 v.2
                                                                                             Case 22-11068-JTD   Doc 24   Filed 11/17/22   Page 28 of 30




                                                                            FOUR SILOS FOR RECOVERY PURPOSES




          Third Party
           Investors
                                                                                          Sam Bankman-Fried                                                                                                                   Third Party
                                                                                                                                                                                                                               Investors



       22.25%                                                                                                                                                                                                                        25.0%

                       52.99%                                               90.0%                                                                          67.0%                                                      75.0%



                                16.93%: Gary Wang                                   10.0%: Gary Wang                                                               23.0%: Gary Wang

                                7.83%: Nishad Singh                                                                                                                10.0%: Nishad Singh




                WRS SILO                                         ALAMEDA SILO                                                                VENTURES SILO                                                   DOTCOM SILO
        Independent Director: Mitchell Sonkin                 Independent Director: Matt Rosenberg                                           Independent Director: Rishi Jain                Independent Directors: Judge Joseph Farnan and Matt Doheny




                                                                                              Indicative Assets by Silo


   Cash and Cash Equivalents                            Cash and Cash Equivalents                                        Venture Investments                                               Cash and Cash Equivalents
   Cryptocurrency                                       Cryptocurrency                                                     Anthropic                                                       Cryptocurrency
   FTX US                                               Other Digital Assets                                               K5                                                              FTX.com
   LedgerX                                              Treasuries                                                         Dave Inc.                                                       Real Estate
   FTX Derivatives                                      Crypto ETFs                                                        Sequoia Capital                                                 Licensed Subsidiaries in Non-US
   FTX Capital Markets                                  Venture Investments                                                Mysten Labs                                                      Jurisdictions
   Embed Clearing                                         Genesis Digital Assets                                           Others
   FTX Vault                                              Modulo Capital
   FTX Gaming                                             Pionic (Toss)
   FTX NFTs                                               Others
   BlockFi Loans
                     Case 22-11068-JTD   Doc 24   Filed 11/17/22   Page 29 of 30




                                             Exhibit B

                               Preliminary Corporate Structure Chart




4892-0827-0654 v.2
                                                                                                                                                                                                                                                    Case 22-11068-JTD                      Doc 24       Filed 11/17/22           Page 30 of 30




      PRELIMINARY ORGANIZATIONAL CHART
       Last updated: Draft of November 17, 2022


                                                                                                                                                                                       Sam Bankman-Fried (majority) | Gary Wang | Nishad Singh *

              Third Party
               Investors



                      22.25%                                             77.75%                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Third Party
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Investors
                                               West Realm Shires Inc.                                                                                    Hilltop
                                                                                                                                                      Technology                                                     Alameda Research LLC                                                                         Clifton Bay Investments LLC                                                                                    Paper Bird Inc
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ~12.5%
                                                                                                                                                                                                                                                                                                                                                                                                                                   (Delaware)
                                                             (Delaware)                                                                              Services LLC
                                                                                                                                                       (Delaware)                                                                     (Delaware)                                                                                         (Delaware)

                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ~80%                                                     ~7.5%
                                                                                                                                                      Cedar Grove
                   Hawaii Digital                                                      Good Luck Games,     FTX Marketplace,                                                                                              Verdant Canyon           Alameda Research              North Wireless
                                         FTX Lend Inc.       Pioneer Street Inc.                                                                  Technology Services,                      Hannam Group Inc
                    Assets Inc.                                                              LLC.                 Inc.                                                                                                      Capital LLC                   KK                     Dimension Inc
                                          (Delaware)             (Delaware)                                                                               Ltd                                    (Korea)
                    (Delaware)                                                            (Delaware)           (Delaware)                                                                                                    (Delaware)                 (Japan)                    (Delaware)
                                                                                                                                                       (Antigua)


                                                                                                                                                                                                                                                                                                                                             Clifton Bay
                                                                                                                                                                                                                                                                                                                                          Investments Ltd
                                                                                                                                                                                                                                                                                                                                                                Island Bay
                                                                                                                                                                                                                                                                                                                                                               Ventures Inc
                                                                                                                                                                                                                                                                                                                                                                                           FTX Ventures Ltd                                                             FTX Trading Ltd
                 West Realm Shires
                                                              Embed Financial           Ledger Holdings
                                                                                                           West Realm Shires
                                                                                                                                                   Deck Technologies                           North Dimension                                      Alameda Global
                                                                                                                                                                                                                                                                                                                                                 (BVI)          (Delaware)
                                                                                                                                                                                                                                                                                                                                                                                                (BVI)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           (Antigua)
                 Financial Services
                        Inc.
                                      Digital Custody Inc.
                                           (Delaware)
                                                              Technologies Inc.
                                                                 (Delaware)
                                                                                              Inc.
                                                                                           (Delaware)
                                                                                                             Services Inc.
                                                                                                             d/b/a FTX US
                                                                                                                                                     Holdings LLC
                                                                                                                                                      (Delaware)
                                                                                                                                                                                                      Inc
                                                                                                                                                                                                  (Delaware)
                                                                                                                                                                                                                          Alameda TR Ltd
                                                                                                                                                                                                                             (Antigua)
                                                                                                                                                                                                                                                     Services Ltd.
                                                                                                                                                                                                                                                         (BVI)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              ~49%
                     (Delaware)                                                                               (Delaware)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           ~51%

                                                                                                                                                                                            Alameda Research             Alameda Research
                                                                                                                                                                                                                                                   Ledger Prime LLC
                                                                                                                                                                                               Holdings Inc.                    Ltd                                                                                                                                                                                    FTX TURKEY
                                                                                                                                                                                                                                                      (Delaware)                                                                                                                                                                                 FTX Digital                Technology
                                                                                                                                                                                                (Delaware)                     (BVI)                                                                                                                                                                                  TEKNOLOJİ VE                                                                 FTX Equity Record                           FTX Digital Markets      Crypto Bahamas
                                                                                                                                                                                                                                                                                                                                                                      LT Baskets Ltd.            FTX Zuma Ltd                                      Holdings              Services Bahamas                                FTX (Gibraltar) Ltd                                                 FTX Canada Inc      Blockfolio, Inc.
                                                                                                                                                                                                                                                                                                                                                                                                                     TİCARET ANONİM                                                                  Holdings Ltd                                     Ltd                     LLC
                                                                                                                                                                                                                                                                                                                                                                         (Antigua)                 (Nigeria)                                 (Singapore) Pte Ltd              Limited                                        (Gibraltar)                                                        (Canada)           (Delaware)
                                                                                                                                                                                                                                                                                                                                                                                                                         ŞİRKET                                                                       (Seychelles)                                 (Bahamas)               (Delaware)
                                                                                                                                                                                                                                                                                                                                                                                                                                                  (Singapre)                 (Bahamas)
                                        FTX Vault Trust                                                                                                                                                                                                                                                                                                                                                                  (Turkey)
FTX Capital      FTX Digital Assets                           Embed Clearing                                FTX US Trading,    FTX US Services,
                                          Company                                        LedgerX LLC
Markets LLC            LLC                                        LLC.                                           Inc.                Inc.
                                      (South Dakota Trust                                 (Delaware)
 (Delaware)         (Delaware)                                  (Delaware)                                    (Delaware)          (Delaware)
                                          Company)
                                                                                                                                                                                                                                                                                                      Non-Economic GP Interest                                                                                        Global Compass              West Innovative        Western Concord                                 Mangrove Cay Ltd      FTX Hong Kong Ltd         FTX Services         FTX Property
                                                                                                                                                                                                                                                                                                                                                                     Allston Way Ltd **        Bancroft Way Ltd **                                                                                  Deep Creek Ltd **                                                                         Holdings Ltd
                                                                                                                                                                                                                                                                                                                                                                                                                      Dynamics Ltd **              Barista Ltd **        Enterprises Ltd **                                     **                     **                Solutions Ltd.
                                                                                                                                                                                                                                                                                                                                                                          (Antigua)                 (Antigua)                                                                                           (Antigua)                                                                              (Bahamas)
                                                                                                                                                                                                                                                                                                                                                                                                                         (Antigua)                   (Antigua)               (Antigua)                                       (Antigua)            (Hong Kong)                (BVI)
                                                                                                                                                                                                                                                                                           LedgerPrime Digital
                                                                                                                                                                                                                                                              Sole LP Interest                    Asset
                                                                                                                                                                                                                                                                                              Opportunities
                                                                                                                                                                                                                                                                                             Master Fund LP                                                                                                                                                                  GG Trading
                                                                                                                                                                                                                                                                                                (Cayman)
                                                                                                                                                                                                                                                                                                                           Third Party                                                                               FTX Japan Services             FTX Japan
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Terminal Ltd
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      FTX Products       FTX Australia Pty                             FTX Malta Holdings
                                                                                                                                                                                                                                                                                                                                                                      FTX Europe AG              FTX EMEA Ltd.                                                                 (Ireland)                                                          Innovatia Ltd
                                                                                                                                                                                                                                                                                                                            Investors                                  (Switzerland)                (Cyprus)                 K.K.                  Holdings K.K.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                         *in process of being
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   (Singapore) Pte Ltd         Ltd
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     (Cyprus)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Ltd **
                                                                                                                                                                                                                                                                                                                                                                                                                           (Japan)                    (Japan)                                          (Singapore)          (Australia)                                     (Malta)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                          transferred to FTX
                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Trading Ltd
                                                                                                                                                                             Goodman                               Cottonwood                                         Cardinal Ventures
                                                                                                                                                                                                                                            Euclid Way Ltd                                                                       90.1%
                                                                                                                                                                          Investments Ltd                        Technologies Ltd                                            Ltd                                                                        9.9%
                                                                                                                                                                                                                                               (Antigua)
                                                                                                                                                                                (BVI)                                (Antigua)                                            (Antigua)




                                                                                            KEY                                                                            Killarney Lake
                                                                                                                                                                          Investments Ltd
                                                                                                                                                                                                                 Alameda Research
                                                                                                                                                                                                                      Pte Ltd
                                                                                                                                                                                                                                            North Dimension
                                                                                                                                                                                                                                                   Ltd
                                                                                                                                                                                                                                                                          Maclaurin
                                                                                                                                                                                                                                                                      Investments Ltd.
                                                                                                                                                                                                                                                                                                                     Concedus Digital
                                                                                                                                                                                                                                                                                                                          Assets
                                                                                                                                                                                                                                                                                                                                               CM-Equity AG
                                                                                                                                                                                                                                                                                                                                                                      FTX Structured
                                                                                                                                                                                                                                                                                                                                                                     Products AG (f/k/a
                                                                                                                                                                                                                                                                                                                                                                       DAAG Capital
                                                                                                                                                                                                                                                                                                                                                                                                 DAAG Trading,
                                                                                                                                                                                                                                                                                                                                                                                                    DMCC
                                                                                                                                                                                                                                                                                                                                                                                                                      FTX Certificates
                                                                                                                                                                                                                                                                                                                                                                                                                          GmbH
                                                                                                                                                                                                                                                                                                                                                                                                                                                               Quoine Pte Ltd
                                                                                                                                                                                                                                                                                                                                                                                                                                                              (to be renamed to
                                                                                                                                                                                                                                                                                                                                                                                                                                                              FTX Singapore Pte
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Liquid Securities
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Singapore Pte Ltd
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          FTX Express Pty
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Ltd
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Zubr Exchange Ltd
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       FTX Malta Gaming
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Services Limited **
                                                                                                                                                                                (BVI)                               (Singapore)                   (BVI)                  (Seychelles)                                                           (Germany)                                                                                                                                       **                                                 (Gibraltar)
                                                                                                                                                                                                                                                                                                                        (Germany)                                          GmbH)                    (UAE)              (Switzerland)                                  Ltd)                                                   (Australia)                                     (Malta)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           (Singapore)
                                                                                                                                                                                                                                                                                                                                                                       (Liechtenstein)                                                                            (Singapore)



                                                                           Debtor                              Non-Debtor                                                Atlantis Technology                     Alameda Aus Pty           Alameda Research             Alameda TR                                                                                  FTX EU Ltd (f/k/a K-
                                                                                                                                                                                                                                                                                                                                                                                                   FTX Crypto
                                                                                                                                                                                                                                                                                                                                                                      DNA Financial                                   FTX Switzerland
                                                                                                                                                                                  Ltd.                                 Ltd                    Yankari Ltd            Systems S. de R. L.                                                                                                          Services Ltd.                                                FTX Japan K.K.          Analisya Pte Ltd **
                                                                                                                                                                                                                                                                                                                                                                      Services Ltd)                                        GmbH
                                                                                                                                                                               (Antigua)                            (Australia)                (Nigeria)                  (Panama)                                                                                                                  (Cyprus)                                                      (Japan)                 (Singapore)
                                                                                                                                                                                                                                                                                                                                                                         (Cyprus)                                       (Switzerland)




                                                                                         WRS SILO                                                                                                                  Strategy Ark
                                                                                                                                                                                                                  Collective Ltd.
                                                                                                                                                                                                                                            Blue Ridge Ltd             Cedar Bay Ltd                                                                                 FTX Exchange FZE          FTX Trading GmbH
                                                                               Independent Director: Mitchell Sonkin                                                                                                                           (Antigua)                 (Antigua)                                                                                         (UAE)                   (Germany)
                                                                                                                                                                                                                     (Antigua)



                                                                                                                                                                                                                                                                     SNG INVESTMENTS
                                                                                                                                                                                                                 Cottonwood Grove          Alameda Research             YATIRIM VE
                                                                                    ALAMEDA SILO
                                                                                                                                                                                                                                                                                                                                                                                                                                                              100%                                  100%
                                                                                                                                                                                                                        Ltd                  (Bahamas) Ltd             DANIŞMANLIK
                                                                                                                                                                                                                    (Hong Kong)                (Bahamas)              ANONİM ŞİRKETİ
                                                                               Independent Director: Matt Rosenbeg                                                                                                                                                        (Turkey)                                                                                                              FTX Derivatives                                              Quoine Vietnam Co.          Quoine India Pte
                                                                                                                                                                                                                                                                                                                                                                                                   GmbH**                                                            Ltd                       Ltd
                                                                                                                                                                                                                                                                                                                                                                                                 (Switzerland)                                                    (Vietnam)                  (India)

                                                                                                                                                                                                                    Hive Empire
                                                                                                                                                                                                                 Trading Pty Ltd **
                                                                                   VENTURES SILO                                                                                                                     (Australia)

                                                                                   Independent Director: Rishi Jain



                                                                                     DOTCOM SILO
                                                                   Independent Directors: Judge Joseph Farnan and Matt
                                                                                          Doheny




                    * Percentages directly held by each of Sam Bankman-Fried, Gary Wang and Nishad Singh in individual entities varies.
                    ** Indicates non-operational subsidiary entity.
